Case 3:18-cv-02000-AJB-NLS Document 7 Filed 02/04/19 PageID.43 Page 1 of 5




 1   Gary L. Eastman (CSB #182518)
 2   Eastman & McCartney LLP
     401 West A Street, Suite 1785
 3   San Diego, CA 92101
     Tel: (619) 230-1144
 4
     Fax: (619) 230-1194
 5   Attorney for Plaintiff
     HELIX ENVIRONMENTAL PLANNING, INC.
 6
 7
 8
 9
                                 UNITED STATES DISTRICT COURT
10
                                          SOUTHERN DISTRICT
11
        HELIX ENVIRONMENTAL                              Case No.: 3:18-cv-02000-AJB-NLS
12      PLANNING, INC., a California
        corporation,
13                                 PLAINTIFF’S NOTICE OF
                                   MOTION AND MOTION FOR
14                      Plaintiff, ENTRY OF DEFAULT
15                                 JUDGMENT AGAINST
            vs.                    DEFENDANT HELIX
16
                                   ENVIRONMENTAL AND
17      HELIX ENVIRONMENTAL AND STRATEGIC SOLUTIONS
        STRATEGIC SOLUTIONS, a
18      California corporation,
                                   Judge: Hon. A.J. Battaglia
19                      Defendant. Courtroom: 4A
20                                 Date: May 30, 2019
21
                                   Time: 2:00pm

22
23
24
25           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
26
27   PLEASE TAKE NOTICE THAT on May 30, 2019 at 2:00 pm or as soon
28   thereafter as this matter may be heard, in the above-entitled Court, located at 221

     Notice of Motion and Motion for Entry of Default Judgment           18-CV-02000-AJB-NLS
                                                           1
Case 3:18-cv-02000-AJB-NLS Document 7 Filed 02/04/19 PageID.44 Page 2 of 5




 1   West Broadway, 4th floor, Courtroom 4A, San Diego, California, Plaintiff Helix
 2   Environmental Planning, Inc. (hereinafter referred to as “Helix”) will and hereby
 3   does respectively move this Court pursuant to Rule 55(b)(2) of the Federal Rules
 4   of Civil Procedure, for entry of default judgment, including declaring that:
 5           (1) Defendant Helix Environmental and Strategic Planning, Inc. (hereinafter
 6   referred to as “Defendant”) has been and continues to infringe Helix’s registered
 7   HELIX ENVIRONMENTAL PLANNING service mark in violation of 15 U.S.C.
 8   § 1114(1);
 9            (2) Defendant’s use of the phrase “Helix Environmental” and the domain
10   name helixenvironmental.com constitutes federal unfair competition in violation
11   of 15 U.S.C. § 1125(a);
12           (3) Defendant’s use of the phrase “Helix Environmental” and the domain
13   name helixenvironmental.com constitutes California common law trademark
14   infringement;
15           (4) Defendant has committed cybersquatting in violation of the
16   Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d); and
17           (5) Defendant’s use of the phrase “Helix Environmental” and the domain
18   name helixenvironmental.com constitutes unfair competition in violation of
19   California Business and Professions Code §§ 17200 et seq.
20
21   Accordingly, Plaintiff Helix requests that the Court:
22           (1) Enter a permanent injunction forever enjoining and restraining
23   Defendant and its agents, officers, attorneys, employees, successors, assigns,
24   affiliates, and any persons in privity or active concert or participation with any of
25   them from using the term “Helix Environmental” with or without its
26   accompanying logo, and the domain name helixenvironmental.com, or any words,
27   phrases, symbols, or logos, or combination of words and symbols that would
28   create a likelihood of confusion, mistake, and/or deception with the HELIX


     Notice of Motion and Motion for Entry of Default Judgment     18-CV-02000-AJB-NLS
                                                           2
Case 3:18-cv-02000-AJB-NLS Document 7 Filed 02/04/19 PageID.45 Page 3 of 5




 1   ENVIRONMENTAL PLANNING service mark and trade name in connection
 2   with environmental services.
 3           (2) Require, under 15 U.S.C. § 1118, that Defendant and all others acting
 4   under Defendant’s authority, at their cost, deliver up and destroy all devices,
 5   literature, advertising, labels, and other materials in their possession bearing the
 6   designation “Helix Environmental” or helixenvironmental.com and cease use of
 7   the Internet domain name helixenvironmental.com.
 8           (3) Order, under 15 U.S.C. § 1125(d)(1)(C), the transfer of the Internet
 9   domain name helixenvironmental.com
10           (4) Direct Defendant, under 15 U.S.C. § 1116(a), to file with the Court and
11   serve on Plaintiff, within thirty (30) days after issuance of an injunction, a report
12   in writing and under oath setting forth in detail the manner and form in which
13   Defendant has complied with the injunction.
14           (5) Declare that Plaintiff Helix is the sole legal and equitable owner of the
15   Internet domain name helixenvironmental.com and order that the Defendant
16   relinquish all rights to the Internet domain name and direct Domains by Proxy,
17   LLC; GoDaddy, LLC; or any other party in a position to do so to transfer the
18   Internet domain name to Helix.
19           (6) For such additional, other, or further relief as the Court deems just and
20   proper, including, but not limited to, attorneys’ fees and costs.
21
22           Plaintiff Helix brings this Motion on the grounds that Defendant is not an
23   infant or incompetent person. Defendant was served the Summons and Complaint
24   in this lawsuit and was well aware of its obligations to respond in this lawsuit.
25   Still, Defendant failed to respond timely and properly to the Complaint. On
26   January 22, 2019, the Clerk of this Court entered a default against Defendant for
27   failure to appear, plead, or otherwise answer Helix’s Complaint within the time
28   allowed by law.


     Notice of Motion and Motion for Entry of Default Judgment      18-CV-02000-AJB-NLS
                                                           3
Case 3:18-cv-02000-AJB-NLS Document 7 Filed 02/04/19 PageID.46 Page 4 of 5




 1           This Motion is based on this Notice of Motion and Motion, the
 2   Memorandum of Points and Authorities filed in support thereof, the Declaration of
 3   Gary L. Eastman, the default entered by the Clerk of this Court on January 22,
 4   2019, and the files and records in this action.
 5
 6
 7                                                     Respectfully submitted,
 8
 9   Dated: February 4, 2019
10                                                     Eastman & McCartney LLP

11                                                     By: ___/s/ Gary L. Eastman
12                                                           Gary L. Eastman, Esq.
                                                             Attorney for Plaintiff
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Notice of Motion and Motion for Entry of Default Judgment             18-CV-02000-AJB-NLS
                                                           4
Case 3:18-cv-02000-AJB-NLS Document 7 Filed 02/04/19 PageID.47 Page 5 of 5




 1                                   CERTIFICATE OF SERVICE
 2           I, the undersigned certify and declare as follows:
 3
           I am over the age of eighteen years and not a party to this action. My
 4
     business address is 401 West A Street, Suite 1785, San Diego, California, 92101,
 5   which is located in the county where the service described below took place.
 6
           On February 4, 2019, at my place of business in San Diego, California, I
 7   served a copy of the following document:
 8
     NOTICE OF MOTION AND MOTION FOR ENTRY OF DEFAULT
 9
     JUDGMENT
10
     The undersigned hereby certifies that he caused a copy of the foregoing
11
     documents to be filed with the clerk of the U.S. District Court, Southern District
12   of California, using the CM/ECF filing system, and a copy will be electronically
13   mailed to the following recipients via ECF electronic service:
14   Chris Arledge, Esq.
15   One LLP
     4000 MacArthur Blvd, East Tower Ste. 500
16
     Newport Beach, CA 92660
17
18
     Attorney for Helix Environmental and Strategic Solutions

19
20          I certify and declare under penalty of perjury under the laws of the United
     States of American and the State of California that the foregoing is true and
21
     correct.
22
     Executed on February 4, 2019, in San Diego, California.
23
24                                          By:        /s/ Gary Eastman
25                                                     Gary Eastman
26
27
28


     Notice of Motion and Motion for Entry of Default Judgment            18-CV-02000-AJB-NLS
                                                           5
